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                                               U.S. Department of Justice

                                                                United States Attorney's Office
                                                                District of Delanare


                                                         1007 N. Orange Street, Suite 700             (302) s73-6277
                                                  P.O. Box 2046                                  FAX (302) s73-6220
                                                  l{ilmington, De laware I 9899-2046              TTY (302) 573- 6274
                                                                                             Toll Free (888) 293-8162


                                                             February 1,2018
The Honorable Leonard P. Stark, Chief Judge
United States District Court
J. Caleb Boggs Federal Building
844 King Street
Wilmington, Delaware 1 9801

       Re      United States v. Lorraine Y. Mosley,
               Criminal Action No. 17-18 - LPS

Dear Chief Judge Stark

       This is a joint status report, submitted pursuant to the Court's Order, dated Jarruary 23,
2017. Docket Item 48. The parties request the Court to schedule the matter for a three-day trial.
The defendant requests that the trial be scheduled for a date after June 1 1, 20 I 8.

       The defendant reports: Ms. Mosley's case was recently reassigned to Assistant Federal
Defender Eleni Kousoulis. Ms. Kousoulis requires time to familiarize herself with the case and to meet
with Ms. Mosley to discuss trial strategy and to conduct necessary investigation. In addition, on January
31,2018, Defense counsel was provided with additional discovery that includes, among other items,
forensic images of three cell phones and recordings of over 500 telephone call that the defense wants
to review in preparation for trial. Additionally, defense counsel's paralegal, whose assistance in this
case is needed, will be out on maternity leave in April and May, 2018. Defense counsel will be out of
the office and unavailable from Jwre 29 , 20 1 8 through July 1 0, 20 1 8. In light of the foregoing, it is
respectfully requested thata trial date in this matter be set for any time after June 11,2018. Ms.
Mosley is presently out of custody on pretrial release and she has no objection to a trial being scheduled
for a date after June I l, 2018.

        The government has no objection to the defendant's request but respectfully asks that trial be
scheduled for a date soon after June 1 1, 2018. The government further requests that the Court exclude
under the Speedy Trial Act the time from the date of this letter through the date on which the trial is to
commence.

                                                        Respectfully,

                                                                     C.




                                                        Edmond               rwski          U.S. Attorney
cc:Eleni Kousoulis, Esq
